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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF KENTUCKY
                                 SOUTHERN DIVISION
                                       LONDON

 UNITED STATES OF AMERICA,                        )
                                                  )
        Plaintiff,                                )   Criminal No. 6:13-cr-00048-GFVT-HAI-3
                                                  )
 V.                                               )
                                                  )
 LESLIE CORNETT,                                  )                    ORDER
                                                  )
                                                  )
        Defendant.

                                       *** *** *** ***

       This matter is before the Court on the Recommended Disposition [R. 345] filed by

United States Magistrate Judge Hanly A. Ingram. Defendant Leslie Cornett is charged with three

violations of his supervised release stemming from his arrest in December 2017. [Id. at 1-2.] At

a final revocation hearing before Judge Ingram on February 27, 2018, Mr. Cornett admitted the

factual basis for these violations. [See id. at 3.] The matter was then referred to Judge Ingram to

recommend a proposed disposition.

       On March 5, 2018, Magistrate Judge Ingram issued a Recommended Disposition which

recommended revocation of Mr. Cornett’s supervised release and a six-month term of

imprisonment followed by a two-year term of supervised release under the conditions previously

imposed. [Id. at 8.] Judge Ingram structured this recommended sentence based on the

arguments of both parties. Judge Ingram noted that defendant has a history of drug use and

marijuana cultivation, and was using marijuana and Lorcet prior to his arrest in December 2017.

[Id. at 6-7.] The Magistrate agreed with the parties’ suggestion that the defendant be required to
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complete an inpatient treatment program to address his illicit drug use. [Id. at 4.] Judge Ingram

noted the dangerousness of defendant’s actions, driving while under the influence of drugs, and

how those actions “constitute[] a significant breach of the Court’s trust.” [Id. at 7.] On the

whole, Judge Ingram appropriately considered the 18 U.S.C. § 3553 factors throughout his

Recommended Disposition, and he adequately explained why a within-guideline sentence of six

months is appropriate in this case.

       Pursuant to Rule 59(b) of the Federal Rules of Criminal Procedure, the Recommended

Disposition further advises the parties that objections must be filed within fourteen (14) days of

service. [Id. at 7.] See 28 U.S.C. § 636(b)(1). No objections to Judge Ingram’s Recommended

Disposition have been filed by either party. Indeed, Defendant Cornett, through counsel, filed a

waiver of allocution. [R. 346.]

       Generally, this Court must make a de novo determination of those portions of the

Recommended Disposition to which objections are made. 28 U.S.C. § 636(b)(1)(c). When no

objections are made, as in this case, this Court is not required to “review . . . a magistrate’s

factual or legal conclusions, under a de novo or any other standard.” See Thomas v. Arn, 474

U.S. 140, 151 (1985). Parties who fail to object to a magistrate judge’s report and

recommendation are also barred from appealing a district court’s order adopting that report and

recommendation. United States v. Walters, 638 F.2d 947 (6th Cir. 1981). Nevertheless, this

Court has examined the record and agrees with Magistrate Judge Ingram’s Recommended

Disposition. Accordingly, and the Court being sufficiently advised, it is hereby ORDERED as

follows:

       1.      The Recommended Disposition [R. 345] as to Defendant Leslie Cornett is

ADOPTED as and for the Opinion of the Court;
                                           2
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       2.      Defendant Cornett is found to have violated the terms of his Supervised Release

as set forth in the Report filed by the U.S. Probation Officer and the Recommended Disposition

of the Magistrate Judge;

       3.      Defendant Cornett’s Supervised Release is REVOKED;

       4.      Mr. Cornett is SENTENCED to the Custody of the Bureau of Prisons for a six-

month term of imprisonment; and

       5.      Following his release from incarceration, Mr. Cornett is placed on supervised

release for a term of two years.

       This the 22nd day of March, 2018.




                                               3
